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                                 #:4323




                 EXHIBIT A
        Case 2:20-cv-08035-SVW-JPR Document 164-4 Filed 05/21/21 Page 2 of 6 Page ID
                                         #:4324

Grochow, Lauren

From:                             Grochow, Lauren
Sent:                             Thursday, May 20, 2021 1:39 PM
To:                               Crisp, Kevin; 'Jake Nachmani'; Amiad Kushner; Michael Stolper; Andrew Sklar; Kevin
                                  Hughes
Cc:                               Kessel, Alan J.; George, Paul B. (GeorgeP@LanePowell.com); Goldman, Jeffrey M.; Ladner,
                                  Matthew
Subject:                          RE: Liu v. Faraday&Future Inc. et al., 2:20-cv-08035-SVW-JPR (C.D. Cal.)


Kevin, Jake, and Andrew,

Thanks for taking the time to discuss the sealing issue detailed below. I am glad that we could agree to file a
joint application to seal the documents and select portions of Plaintiff’s declaration. Please let us know as soon
as you have contacted out to the Courtroom Deputy and Help Desk to let them know that the application to
seal will be forthcoming. We will get a draft of that application and the supporting documents to you as soon as
possible.

Best,
Lauren

Lauren E. Grochow
Associate
troutman pepper
Direct: 949.622.2746 | Internal: 18-2746
lauren.grochow@troutman.com

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From: Crisp, Kevin <Kevin.Crisp@Troutman.com>
Sent: Thursday, May 20, 2021 11:28 AM
To: 'Jake Nachmani' <jnachmani@seidenlawgroup.com>; Amiad Kushner <akushner@seidenlawgroup.com>; Michael
Stolper <mstolper@seidenlawgroup.com>; Andrew Sklar <asklar@seidenlawgroup.com>; Kevin Hughes
<kevin@foundationlaw.com>
Cc: Kessel, Alan J. <Alan.Kessel@troutman.com>; George, Paul B. (GeorgeP@LanePowell.com)
<GeorgeP@LanePowell.com>; Goldman, Jeffrey M. <Jeffrey.Goldman@troutman.com>; Grochow, Lauren
<Lauren.Grochow@troutman.com>; Ladner, Matthew <Matthew.Ladner@troutman.com>
Subject: RE: Liu v. Faraday&Future Inc. et al., 2:20-cv-08035-SVW-JPR (C.D. Cal.)

Jake,

While we believe that you have had more than sufficient notice—especially given you apparently had enough
notice to provide an express written response below setting forth your blanket disagreement that any of these
documents and information are confidential and need to be sealed, at the very least—we will postpone the call
that you requested to hold until 1 pm PT today. Please use the same dial-in and password circulated below.
Please also note, again, that if we are unable to resolve this issue, we will be forced to file an ex parte
application to have the documents sealed, as well as to seek all appropriate remedies under, inter alia, Section
14 of the Protective Order, in response to Plaintiff’s public exposure of FF’s confidential and privileged
information.

Regards,
                                                           1
                                                                                            Exhibit A, Page 4
         Case 2:20-cv-08035-SVW-JPR Document 164-4 Filed 05/21/21 Page 3 of 6 Page ID
                                          #:4325

Kevin

From: Jake Nachmani <jnachmani@seidenlawgroup.com>
Sent: Thursday, May 20, 2021 11:17 AM
To: Crisp, Kevin <Kevin.Crisp@Troutman.com>; Amiad Kushner <akushner@seidenlawgroup.com>; Michael Stolper
<mstolper@seidenlawgroup.com>; Andrew Sklar <asklar@seidenlawgroup.com>; Kevin Hughes
<kevin@foundationlaw.com>
Cc: Kessel, Alan J. <Alan.Kessel@Troutman.com>; George, Paul B. (GeorgeP@LanePowell.com)
<GeorgeP@LanePowell.com>; Goldman, Jeffrey M. <Jeffrey.Goldman@Troutman.com>; Grochow, Lauren
<Lauren.Grochow@Troutman.com>; Ladner, Matthew <Matthew.Ladner@Troutman.com>
Subject: RE: Liu v. Faraday&Future Inc. et al., 2:20-cv-08035-SVW-JPR (C.D. Cal.)

EXTERNAL SENDER

Kevin,

We need more than 75 seconds notice in order to coordinate on our end. We are available later in the afternoon.

We are free at 4PM EST and after.

From: Crisp, Kevin <Kevin.Crisp@Troutman.com>
Sent: Thursday, May 20, 2021 2:13 PM
To: Jake Nachmani <jnachmani@seidenlawgroup.com>; Amiad Kushner <akushner@seidenlawgroup.com>; Michael
Stolper <mstolper@seidenlawgroup.com>; Andrew Sklar <asklar@seidenlawgroup.com>; Kevin Hughes
<kevin@foundationlaw.com>
Cc: Kessel, Alan J. <Alan.Kessel@Troutman.com>; George, Paul B. (GeorgeP@LanePowell.com)
<GeorgeP@LanePowell.com>; Goldman, Jeffrey M. <Jeffrey.Goldman@Troutman.com>; Grochow, Lauren
<Lauren.Grochow@Troutman.com>; Ladner, Matthew <Matthew.Ladner@Troutman.com>
Subject: RE: Liu v. Faraday&Future Inc. et al., 2:20-cv-08035-SVW-JPR (C.D. Cal.)

We are available at 11:15 a.m. PT. Please use the following:

Dial: 866-499-5343
Pass: 949-567-3537

From: Jake Nachmani <jnachmani@seidenlawgroup.com>
Sent: Thursday, May 20, 2021 10:53 AM
To: Crisp, Kevin <Kevin.Crisp@Troutman.com>; Amiad Kushner <akushner@seidenlawgroup.com>; Michael Stolper
<mstolper@seidenlawgroup.com>; Andrew Sklar <asklar@seidenlawgroup.com>; Kevin Hughes
<kevin@foundationlaw.com>
Cc: Kessel, Alan J. <Alan.Kessel@Troutman.com>; George, Paul B. (GeorgeP@LanePowell.com)
<GeorgeP@LanePowell.com>; Goldman, Jeffrey M. <Jeffrey.Goldman@Troutman.com>; Grochow, Lauren
<Lauren.Grochow@Troutman.com>; Ladner, Matthew <Matthew.Ladner@Troutman.com>
Subject: RE: Liu v. Faraday&Future Inc. et al., 2:20-cv-08035-SVW-JPR (C.D. Cal.)

EXTERNAL SENDER

Kevin,

We disagree with your below emails. We request a meet and confer with you.

                                                          2
                                                                                         Exhibit A, Page 5
        Case 2:20-cv-08035-SVW-JPR Document 164-4 Filed 05/21/21 Page 4 of 6 Page ID
                                         #:4326
What is your availability today?

Regards,

-Jake

From: Crisp, Kevin <Kevin.Crisp@Troutman.com>
Sent: Thursday, May 20, 2021 1:34 PM
To: Amiad Kushner <akushner@seidenlawgroup.com>; Michael Stolper <mstolper@seidenlawgroup.com>; Jake
Nachmani <jnachmani@seidenlawgroup.com>; Andrew Sklar <asklar@seidenlawgroup.com>; Kevin Hughes
<kevin@foundationlaw.com>
Cc: Kessel, Alan J. <Alan.Kessel@Troutman.com>; George, Paul B. (GeorgeP@LanePowell.com)
<GeorgeP@LanePowell.com>; Goldman, Jeffrey M. <Jeffrey.Goldman@Troutman.com>; Grochow, Lauren
<Lauren.Grochow@Troutman.com>; Ladner, Matthew <Matthew.Ladner@Troutman.com>
Subject: RE: Liu v. Faraday&Future Inc. et al., 2:20-cv-08035-SVW-JPR (C.D. Cal.)

Counsel,

Following up on this, please let us know by 11:00 a.m. PT if you agree to have the documents and the
declaration excerpts sealed.

Regards,

Kevin

From: Crisp, Kevin <Kevin.Crisp@Troutman.com>
Sent: Wednesday, May 19, 2021 7:57 PM
To: Amiad Kushner <akushner@seidenlawgroup.com>; Michael Stolper <mstolper@seidenlawgroup.com>; 'Jake
Nachmani' <jnachmani@seidenlawgroup.com>; Andrew Sklar <asklar@seidenlawgroup.com>; Kevin Hughes
<kevin@foundationlaw.com>
Cc: Kessel, Alan J. <Alan.Kessel@Troutman.com>; George, Paul B. (GeorgeP@LanePowell.com)
<GeorgeP@LanePowell.com>; Goldman, Jeffrey M. <Jeffrey.Goldman@Troutman.com>; Grochow, Lauren
<Lauren.Grochow@Troutman.com>; Ladner, Matthew <Matthew.Ladner@Troutman.com>
Subject: Liu v. Faraday&Future Inc. et al., 2:20-cv-08035-SVW-JPR (C.D. Cal.)

Counsel:

Exhibits 1, 2, 7, 8, 26, 27, 28, and 29 to the Liu Declaration, the attached highlighted portions of the Liu
Declaration, and Exhibit A to the Kushner Declaration submitted in support of Plaintiff’s Cross Motion for
Summary Judgment and Opposition filed last night at 11:26 p.m., contain information that is confidential and
was required to have been filed under seal pursuant to the Stipulated Protective Order entered by the Court (the
“Protective Order” [Dkt. No. 88]), as well as privileged information that should not have been filed at all.

Specifically:

       Exhibits 1 and 2 to the Liu Declaration disclose the confidential subject matter of FF’s engagement of
        Mayer Brown and the confidential financial terms of that engagement. See Moussouris v. Microsoft
        Corp., No. 15-CV-1483 JLR, 2018 WL 2124162, at *2 (W.D. Wash. Apr. 25, 2018) (sealing
        confidential information in engagement letters); Evans v. DSW, Inc., No. 216CV03791JGBSPX, 2018
        WL 6920674, at *5 (C.D. Cal. Aug. 17, 2018) (sealing documents relating to confidential financial
        information and business strategies); see also Cal. Bus. & Prof. Code § 6149 (“A written fee contract

                                                        3
                                                                                      Exhibit A, Page 6
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       shall be deemed to be a confidential communication within the meaning of subdivision (e) of Section
       6068 and of Section 952 of the Evidence Code);

      Exhibit 8 to the Liu Declaration discloses privileged communications from FF’s in house counsel
       regarding the topics on which FF was seeking legal advice from outside counsel at Mayer Brown;

      Exhibit 26 to the Liu Declaration discloses the confidential financial information of other FF
       employees. See, e.g., Digital Reg of Texas, LLC v. Adobe Sys., Inc., No. C 12-1971 CW, 2014 WL
       4246158, at *3 (N.D. Cal. Aug. 27, 2014) (granting motion to seal documents that reference confidential
       financial information of the movant and third parties);

      Exhibit 27 to the Liu Declaration is a privileged document that falls outside the limited scope of the
       privilege waiver delineated and reconfirmed by Judge Rosenbluth in her respective May 3 and May 12,
       2021 Orders;

      Exhibit 28 to the Liu Declaration and Exhibit A to the Kushner Declaration, are both documents that
       were produced by FF, as they include attorney-client communications that seek or identify sensitive
       aspects of FF’s business operations or strategies. See, e.g., Specialty Surplus Ins. Co. v. Lexington Ins.
       Co., No. C06-5246 RJB, 2007 WL 2404703, at *18 (W.D. Wash. Aug. 17, 2007) (sealing document
       designated as “CONFIDENTIAL AND PRIVILEGED ATTORNEY WORK PRODUCT”); and

      The attached highlighted portions of Liu’s declaration further reflect privileged communications he
       purportedly made in his role as FF’s General Counsel and that, as with Exhibit 27, fall outside of the
       limited privilege waiver found and reconfirmed by Judge Rosenbluth in her respective May 3 and May
       12 Orders.

Under Local Rule 79-5.2.2(b), Plaintiff was required to contact FF at least 3 days prior to filing the above-
referenced confidential documents to determine whether FF continued to maintain that those documents and
information were confidential before filing them with the Court. Plaintiff, however, failed to do so and
subsequently exposed FF’s confidential documents and information in a public filing. In addition, despite the
fact that none of the above-referenced privileged documents and information should have been used for any
purpose under Judge Rosenbluth’s Orders or under the governing law previously cited to you on multiple
occasions, those documents and information further should not have been publicly exposed and, at a bare
minimum, similarly were required to be filed under seal, even assuming, arguendo, they could be filed, at all.

Please let us know immediately if you agree to have the foregoing documents and the declaration excerpts
sealed. If so, it will be necessary for you to contact the Court Room Deputy and Help Desk pursuant to the
following instructions set out on the Court’s website (LINKED HERE and excerpted below), to explain that the
documents and declaration excerpts need to be sealed and that an application to seal those documents is
forthcoming:

               If you believe you have e-filed a document incorrectly, resulting in a confidential
               document being publicly filed, please contact both the Court Room Deputy and
               the Help Desk (213-894-0242 or ecf-helpdesk@cacd.uscourts.gov(link sends e-
               mail)), explaining the error. Then, if you have not already done so, e-file an
               Application for Leave to File Under Seal pursuant to Local Rule 79-5.2.2.

We will then send you a joint application to file the above-referenced documents and declaration excerpts under
seal that we will support with a declaration detailing the reasons for that action. Of course, we are doing this as
a prophylactic measure in light of your public filing of Defendants’ confidential and privileged information, and

                                                         4
                                                                                       Exhibit A, Page 7
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                                                     #:4328
(i) we do not agree that privileged information should be before the court; and (ii) nothing herein should be
construed as an approval of the same.

Should Plaintiff refuse to agree to this procedure, Defendants will have no choice but to move ex parte to have
the documents sealed, as well as to seek all appropriate remedies under, inter alia, Section 14 of the Protective
Order, in response to Plaintiff’s public exposure of FF’s confidential and privileged information.

We look forward to hearing from you so that the parties can proceed accordingly and in reservation of each of
their respective rights, including, without limitation, Defendants’ rights to
seek any and all available legal remedies with respect to the improperly filed documents discussed above, their
utilization in any form whatsoever, and with respect to any other improperly filed or utilized document or
information.

Regards,

Kevin

Kevin Crisp
Partner
Direct: 949.567.3537 | Internal: 814-3537
kevin.crisp@troutman.com
____________________________


troutman pepper
Suite 1200, 4 Park Plaza
Irvine, CA 92614-2524
troutman.com
____________________________

A HIGHER COMMITMENT TO CLIENT CARE
Troutman Sanders and Pepper Hamilton have combined to become Troutman Pepper (Troutman Pepper Hamilton
Sanders LLP). Troutman Pepper offers expanded capabilities and practice strengths while continuing to deliver powerful
solutions to clients' legal and business issues with a higher commitment to client care.


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other malicious threats; we are not liable for any loss or damage caused by viruses.




                                                            5
                                                                                            Exhibit A, Page 8
